Case 1:24-mj-00004-RMM Document5 Filed 01/09/24 Page 1 of 1
AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America Case: 1: 24-—mj-0000 4
: Assigned To : Meriweather, Robin M.
Carlos Alberto Ayala ) Assign. Date : 1/8/2024

) Description: COMPLAINT W/ARREST WARRANT
)

pe )

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Carlos Alberto Ayala
who is accused of an offense or violation based on the following document filed with the court:

O Indictment 1 Superseding Indictment Ol Information © Superseding Information 3M Complaint
© Probation Violation Petition 3 Supervised Release Violation Petition Violation Notice O Order ofthe Court

This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds '
Authority; :

18 U.S.C. § 1752(a)(2) - Knowingly, and with intent to impede or disrupt the orderly condictot
40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building ,;

40 U.S.C. § 5104(c)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building ;
18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder.

Date: _ 01/08/2024

City and state: _ Washington, D.C.

eee This warrant was received on (date) 01) og zon 1 tad

at (city and state) “SA SB Ay | HWJ>

Date: _otfor[zers

